
OPINION OF THE COURT
PER CURIAM.
Reversed. James Curtis Brown was cited with driving under the *32influence in violation of Florida Statutes §316.193 by Officer Hill of the Lake Clarke Shores Police Department. Brown filed a motion to suppress the breathalyzer test results, etc., on the grounds that the arresting officer’s attempt to stop did not take place until after defendant and the officer exited the officer’s jurisdiction.
Although Officer Hill could have stopped defendant while he was still in Lake Clarke Shores, he did not do so because department procedures require a tag check before pulling a vehicle over. We reverse in that the reason for the hesitation was reasonable. We decline to set forth any guidelines, however, because reasonableness is an elementary principle of law.
REVERSED AND REMANDED. STEWART, COLBATH and LUPO, JJ., concur.
